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     Federal Defender
 2   MEGAN T. HOPKINS, Bar No. 294141
     Assistant Federal Defender
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 6   Attorneys for Defendant
     CONRADO VIRGEN MENDOZA
 7
 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                     Case No. 1:19-cr-00015 DAD-BAM

12                     Plaintiff,
                                                    REQUEST FOR WAIVER OF DEFENDANT’S
13    vs.                                           PERSONAL APPEARANCE FOR NON-
                                                    SUBSTANTIVE HEARINGS; ORDER
14    CONRADO VIRGEN MENDOZA,                       THEREON

15                    Defendant.

16
17                  Pursuant to Fed. R. Crim. P. 43(b)(3), Defendant, CONRADO VIRGEN

18   MENDOZA, having been advised of his right to be present at all stages of the proceedings,
19   hereby requests that this Court proceed in his absence on every occasion that the Court may
20   permit, pursuant to this waiver. Specifically, the Defendant requests a waiver of his appearance

21   at the November 4, 2019 status conference regarding severed counts, and all future non-
22   substantive hearings. Defendant agrees that his interests shall be represented at all times by the
23   presence of his attorney, Assistant Federal Defender, Megan T. Hopkins, the same as if

24   Defendant were personally present, and requests that this court allow his attorney-in-fact to
25   represent his interests at all times. Defendant further agrees that notice to Defendant's attorney
26   that Defendant’s presence is required will be deemed notice to the Defendant of the requirement
27   of his appearance at said time and place.
28          A waiver of defendant’s appearance has previously been granted for other, individual,
     Case 1:19-cr-00015-TLN-BAM Document 569 Filed 10/28/19 Page 2 of 2


 1   non-substantive hearings. Defendant has made all required appearances to date and is in
 2   compliance with all pretrial conditions. The government has no objection to this request.
 3          This request is made to avoid the necessity of travel for all court appearances, in light of
 4   the fact that defendant resides in Chowchilla, CA and is unable to drive himself to court, which
 5   requires the attendance of his wife and children each time he must make an appearance. As a
 6   result, defendant’s wife must absent herself from her job for each appearance and both the loss of
 7   income and the cost of travel imposes a financial hardship on the defendant and his family.
 8
 9          DATED: October 25, 2019                /s/ Original signature on File
                                                   CONRADO VIRGEN MENDOZA
10
11
12          DATED: October 25, 2019                /s/ Megan T. Hopkins
                                                   MEGAN T. HOPKINS
13                                                 Assistant Federal Defender
                                                   Attorney for CONRADO VIRGEN MENDOZA
14
15
16                                                ORDER
17
18          GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s appearance
19   may be waived at any and all non-substantive pretrial proceedings until further order.
20
     IT IS SO ORDERED.
21
22      Dated:     October 28, 2019
                                                        UNITED STATES DISTRICT JUDGE
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